              Case 1:04-cr-05327-AWI Document 710 Filed 11/12/15 Page 1 of 2

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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:04-CR-05327 AWI - 1

12                                Plaintiff,            ORDER DENYING DEFENDANT’S MOTION
                                                        PURSUANT TO TITLE 18 U.S.C. § 3582(c)(2)
13                         v.

14   ESTANISLAO PULIDO,

15                               Defendant.

16

17          The defendant has filed a motion under 18 U.S.C. § 3582(c)(2), seeking a reduction in his

18 sentence on the basis of Amendment 782 to the Sentencing Guidelines which revised the Drug Quantity

19 Table in USSG § 2D1.1 and reduced by two levels the offense level applicable to many drug trafficking

20 offenses. The Government has opposed the motion on the basis that the defendant was sentenced to the

21 statutorily required minimum sentence and the Court is without authority to reduce his sentence further.

22 The Court will deny the defendant’s motion.

23          Section 3582(c)(2) authorizes district courts to modify an imposed sentence “in the case of a

24 defendant who has been sentenced to a term of imprisonment based on a sentencing range that has

25 subsequently been lowered by the Sentencing Commission.” United States v. Dunn, 728 F.3d 1151,

26 1155 (9th Cir. 2013). Effective November 1, 2014, the Commission promulgated Amendment 782,
27 which generally revised the Drug Quantity Table and chemical quantity tables across drug and chemical

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             Case 1:04-cr-05327-AWI Document 710 Filed 11/12/15 Page 2 of 2

 1 types. The Commission also voted to make Amendment 782 retroactively applicable to previously

 2 sentenced defendants.

 3          The drug quantity findings in this case included 1,654.5 kilograms of marijuana and 345.6 grams

 4 of actual methamphetamine, among others. Based on those findings, the Court sentenced the defendant

 5 to 120 months in prison, the lowest sentence the Court could impose in light of the mandatory minimum

 6 of imprisonment for the drug conviction. See 21 U.S.C. § 841(b)(1)(A). While the offense level in the

 7 defendant’s case may have been lowered, due to the operation of U.S.S.G. § 5G1.1(b) and the statutory

 8 minimum sentence in this case, the defendant’s amended guideline range cannot fall below 120 months.

 9 Because the defendant’s original guideline range was 120 to 135 months, the defendant’s guideline

10 range has not been lowered by the amendments to the sentencing guidelines. The defendant is not

11 eligible for a reduction and the court is precluded by the statutory minimum sentence from reducing the

12 defendant’s sentence. The defendant’s sentence was not based on “a sentencing range that has

13 subsequently been lowered by the Sentencing Commission,” but rather, was based on the statutory

14 mandatory minimum under Title 21, United States Code, Section 841(b)(1)(A). As a result, the Court

15 may not reduce the sentence further. United States v. v. Paulk, 569 F.3d 1094, 1095 (9th Cir. 2009).

16          IT IS HEREBY ORDERED that the defendant’s motion pursuant to Section 3582 is DENIED.

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     IT IS SO ORDERED.
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19 Dated: November 10, 2015
                                               SENIOR DISTRICT JUDGE
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